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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
 _____________________________
 KYROS LAW GROUP LLC            )
            Plaintiff,          )
                                )
      vs.                       )
                                )    C.A. No.: 1:21-cv-10895
MICHAEL PATRICK FEENEY, and)
FEENEY LAW FIRM,                )    ORAL ARGUMENT REQUESTED
           Defendants.          )
______________________________)

                     PLAINTIFF’S MOTION TO STRIKE THE EXHIBITS
                    TO DEFENDANTS’ MOTION TO DISMISS COMPLAINT

       NOW COMES the Plaintiff, Kyros Law Group, LLC (“KLG”) in the above-captioned

matter and respectfully requests that the three Exhibits submitted by the Defendants with their

Motion to Dismiss the Complaint [Docket No. 8] be stricken for the reasons stated in the

Memorandum of Law which accompanies this Motion.


       1.     The Defendants have submitted with their Motion to Dismiss the following
Exhibits which are the subject of this Motion to Strike:

               a.      Unverified copy of the Complaint in Norfolk County Superior Court,
                       C.A. No. 2182CV00280;

               b.      Unverified “Memorandum of Decision and Order on Plaintiff’s Motion for
                       Preliminary Injunction”;

               c.      Unverified First Amended Complaint, in Norfolk County Superior Court,
                       C.A. No. 1682CV00100.
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                                             Respectfully submitted:

                                             Kyros Law Group LLC,
                                             By Its Attorney,

7/20/21                                      /s/ S. James Boumil, Esq.
Date                                         S. James Boumil, Esq. (BBO#050940)
                                             120 Fairmount Street
                                             Lowell, MA 01852
                                             Tel: 978-458-0507
                                             Email: SJBoumil@Boumil-Law.com


 CERTIFICATE OF GOOD FAITH CONFERENCE; CONFERRED BUT UNABLE TO
             RESOLVE ISSUES PRESENTED IN THE MOTION

Pursuant to Rule 7.1(a)(2), I hereby certify that counsel for the movant has conferred with all
parties or non-parties who may be affected by the relief sought in this motion in a good faith
effort to resolve the issues but has been unable to resolve the issues. The conference was held
by telephone, by agreement, on July 13, 2021 at 4:00 p.m.


                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on the 20th day of July, 2021, I caused to be served
a copy of the foregoing document by electronic filing through the Court’s ECF system on the
following:

Marc E. Finkel, Esq.
Jeffrey L. Alitz, Esq.
Matthew Schwartz, Esq.
Freeman Mathis & Gary, LLP
60 State Street, 6th Floor
Boston, MA 02109




                                             /s/ S. James Boumil
                                             S. James Boumil




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